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                                 UNITED STATES DISTRICT COURT
                                             DISTRICT OF UTAH



         Paul Joseph Parker                             )         Demand for Permanent Injunctive
         Applicant/ Declarant                            )        Relief due to Criminal Trespass and
                                                        )         injurious physical harm
                                                        )

                -against-                              )          NOTICE OF CONSPIRACY AND
                                                                  CRIMINAL TRESPASS
        Sean Reyes, Linda Jones,                       )
        John Doe and Jane Doe (1-10)                   )
        Respondent(s)
                                                                               Case: 2:22-mc-00259
        Emergency Injunction Requested and Jury Demand                         Assigned To: Campbell, Tena
                                                                               Assign. Date: 04/13/2022
                                                                               Description: State of Utah v Parker
         Utah Case Look-up: 191906168
         INDIVIDUAL/ Franchisee: PAUL PARKER/ Paul Parker; et alia
         Debtor: THE STATE OF UTAH/ The State of Utah
        Attorney: SEAN REYES/ Sean Reyes; MICHAEL PALUMBO/ Michael Palumbo
        CUSIP / TIN#: 87-6000-545
         Re: PLAINTIFF/THE STATE OF UTAH V. PAUL PARKER
        / Plaintiff/The State of Utah v. Paul Parker

        PARTIES

        Applicant: Paul-Joseph: Parker
                    % 1978 Chalet Drive
                    Washington County, Utah State.
        Respondent 1: Sean Reyes a/k/a Sean D. Reyes, Attorney General
                      Doing Business As: Utah Office of the Attorney General
                      160 East Broadway FL 6
                      Salt Lake City, UT, 84111-2305 United States
        Respondent 2: Linda Jones
                      Doing Business As: Linda Jones; Judge of The Utah Third District Court
                      In care of: Judiciary Courts of The State of Utah
                      450 South State St Salt Lake City, UT, 84111-3101 United States




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Respondent 3: Randon Draper, (Wayne Jones and Michael Palumbo assigns)
             Assistant Attorneys General
              In care of: Sean Reyes a/k/a Sean D. Reyes, Attorney General
              Doing Business As: Utah Office of the Attorney General
              160 East Broadway FL 6
              Salt Lake City, UT, 84111-2305 United States


JURISDICTION

The jurisdiction of this court is invoked pursuant to The Constitution of the United States of
America which states unequivocally:
No (natural) person shall ... be deprived of life, liberty, or property, without due process of law ...
-Due Process Clause of the Fifth Amendment (1791 ).
Violation of Article IV of all four Federal Constitutions - Americans are exempt from Bills of
Attainder
Violation of Amendment V (1791) • Denial of Due Process
Violation of Amendment V (1791) • Double Jeopardy via Dispositive Motions
Violation of Amendment XI • Americans are not subject to any foreign laws.
Violation of Federal Law, PL 73-10 and 12 USC 411 • Mutual Offset Credit Exchange Exemption
from all Public Debts                         ·

NATURE OF THE CASE

lus in re inhaerit ossibus usufructarii:
"A real right attaches to the usufructuary"

 Note: United States Supreme Court ruled in 2021: Mortgage overseer structure unconstitutional
• Collins v. Yellen, 19-422, and Yellen v. Collins, 19-563.
 Usufruct is a "limited" lus in re (real right) or in rem right found in civil law and mixed jurisdictions
that unites the two property interests of usus and fructus: (1) Usus (use) is the right to use or
enjoy a thing possessed, directly and without altering it, and (2) Fructus (fruit, in a figurative
sense) is the right to derive profit from a thing possessed.
A quasi-contract or implied-in-law contract or constructive contract is a legal fiction contract that
is recognized in some foreign tribunals. The notion of a quasi-contract can be traced to Roman
(Municipal) law and it is still a concept used in some special legal systems. Let this notice serve
as attestation that any and all agency relationship between PAUL JOSEPH PARKER/ Paul
Joseph Parker; et alia and the State(s) of Utah are terminated.
An "individual/ INDIVIDUAL" is defined as an artificial federally-chartered entity, meaning a
federal (but not state) chartered corporation or partnership or trust. Such an entity is a citizen of
the "United States" because it has a physical presence in the District of Columbia to be subject
to the exclusive legislative or territorial jurisdiction of the United States under Article 1, Section
8, Clause 17 of the U.S. Constitution. This "individual" is NOT a natural person with income from
outside the district (federal) United States who is living and working for a private employer in the


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50 united States of America because of the restrictions on direct taxes imposed by Article 1,
Section 9, Clause 4, and Article 1, Section 2, Clause 3 of the U.S. Constitution.

The INDIVIDUAL/ Individual that is the subject of this legal matter is a federal franchise and or
employee; also known as, a Warrant Officer, and it was repatriated back to the United States
Department of the Treasury and Administrative Notice was given to the Illinois State Regional
Office Department of the Treasury Internal Revenue Service KANSAS CITY, MO,
64999-0023.and Illinois State Regional Office Department of the Treasury Internal Revenue
Service Ogden, UT 84201-0023. Copy of IRS Form 8822 - Change of Address and USPS
Certified Mailing Receipt enclosed.

The Judicial District of Utah's rules, ordinances, codes, regulations, statutes, and Land Banking
Act(s), do not apply to the General Public. Thus, the land banking acts that the US Municipal
legal service providers are using to assign the assets of Americans, via the use of dispositive
motions and idem sonnans to facilitate the deliberate misaddressing and mis-delivery of US
mail, is mail fraud and unconstitutional.

The US Postal Service has been mis-delivering mail to paper addresses. These paper
addresses were initially created only for use on the US Tax Map for the Census. --- It only exists
on paper, it is not real. Transforming these paper streets into paper Deeds is a specialized
services of many legal service providers called Attorneys.

Violation(s) of my Constitutionally protected rights (guarantees), by United Nations
Organization's (UNO) PMA members, vitiates (abolishes) their Bill of Rights.

    I, Paul-Joseph: Parker©, Illinoisan, a living man, having attained the age of majority; of my
free will act and deed, publicly declare the following to be true: "My intellectual property (IP) and
my private, personal and physical (real) properties are neither abandoned nor unclaimed", and
any derivative rights being alleged by the State(s) of Utah, have been terminated.
    This NOTICE OF CONSPIRACY AND CRIMINAL TRESPASS is being submitted against
the herein annotated Private Membership Association (PMA) members.

Private Membership Association ("PMA"), National Associalion(s):
State of Utah, located at 350 N State St Ste 200 Salt Lake City, UT, 84114-4799 United States,
State of Utah is registered in Washington. State of Utah is NOT registered in Utah State.
SPENCER J COX is listed as Governor and DEIDRE M HENDERSON as Lt. Governor, SEAN
D REYES, as Attorney General, and they are NOT registered in Utah State, they are registered
in Washington State.

THIRD DISTRICT COURT IN AND FOR SALT LAKE COUNTY STATE OF UTAH, Doing
Business As: Judiciary Courts of The State of Utah; located at; 450 S State St Salt lake City, UT,
84111-3101 United States, Parent Company; Key Principal is Zimmerman Chief Justice, and the
court and Principal are NOT registered in Utah State; and also located at 450 S State St 5TH FL
Salt Lake City, UT, 84111-3101 United States; Key Principal(s) are Lisa Collins and


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Bartholomew; and the court and Principal(s) are registered in Washington, United States doing
business as; the Judiciary Courts of The State of Utah.

Linda Jones., is doing business as; Linda Jones; Judge Of The Utah Third District Court.

Third District Court, Linda Jones, L. Douglas Hogan, Sean D. Reyes, Randon Draper, Wayne
Jones, Michael Palumbo and Adam Timmins are private members of the private associations;
doing business as; Judiciary Courts of The State of Utah; Judicial Branch, State of Utah; State
of Utah; Salt Lake County; Judges of the Third District Court Salt Lake County, Utah Office of
the Attorney General, and Utah State Tax Commission, collectively and severally.

 PMA private member, Sean Reyes a/k/a Sean D. Reyes issued a Warrant of Arrest on June 18,
 2019 and on June 21, 2019, Illinoisan, Paul-Joseph: Parker.©, was unlawfully detained by
 alleged warrant order of L. DOUGLAS HOGAN, by the Unified Police Department Taylorsville
 Division on a sting operation based upon allegations of a purported criminal offense of Failure to
 File Income Tax, Tax Evasion and Pattern of Unlawful Activity by Utah State Tax Commission
 investigator Adam Timmins, against alleged U.S. Citizen PAUL JOSEPH PARKER/ PAUL
 PARKER, purported to be residing at 4637 South Aspen Lane, Taylorsville, city in central
 Salt Lake County, Utah 84123, (United States); wherein it states in part-" ... Defendant PAUL
 JOSEPH PARKER/ PAUL PARKER was a purported resident of Salt Lake County, Utah (United
 States). This was done allegedly on a tax related issue, and assigned to LINDA JONES of the
 THIRD DISTRICT COURT IN AND FOR SALT LAKE COUNTY STATE OF UTAH. Linda Jones
 has issued a plea on behalf of the Defendant which is a violation and fraud upon the court,
 (attorning from the bench), denied several jurisdiction and Constitution challenges, ignored a
 Silver Surety Bond submitted to the Court, ignored a valid Foreign Judgment and who then
 subsequently issued an additional warrant order on April 1, 2021. Then, Illinoisan, Paul-Joseph:
 Parker.© was arrested and detained by the Washington County Sheriff on July 21, 2021, forced
to State sponsored legal counsel provided by The Utah Legal Defenders Association, released
from incarceration on September 10, 2021, and is now being held on supervised release with
SALT LAKE COUNTY PRETRIAL SERVICES. Illinoisan, Paul-Joseph: Parker.©, has issued 4
negotiable instruments and a lawful money Silver American Dollar to provide remedy and satisfy
the alleged claim and all have been ignored. An Interlocutory Appeal was submitted to the Utah
Court of Appeals and rejected. All known remedies have been exhausted.
     Linda Jones' behavior, especially in the latest pretrial hearing, has been escalating to a
dangerous level and now presents a clear and present danger to my health, wellbeing and
property. The Third Judicial District of Utah's callous disregard for my safety necessitated that I
file this Emergency Injunction Request with the District Court.
     According to the Private Membership Association ("PMA"); association members are part of
a corporate family and are not under the jurisdiction of any U.S. state, and U.S. states may not
pass laws that impair the obligation of a contract, because in general, members of a PMA have
the right to private contract under the due process liberty clause of the 5th (right of association)
and 14th Amendments (Bill of Attainder).




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      PMA's further implies that what could/would in normal situations be subject to scrutiny, or be
 considered a criminal act outside the jurisdiction of the association, is deemed perfectly legal
 within the protection/jurisdiction of the private association.
      This purported immunity is based on the presumption that private membership associations
 are afforded all the rights and freedoms of an American citizen, including the right to due
 process, in the event that a state official makes inquiries into their operation and organization.
 However, this purported immunity terminates, as soon as, a clear and present danger event
 occurs that causes an injury that the corporate congress has an obligation to prevent. For
 instance, by violating the Fifth Amendment by subjecting Americans to double jeopardy via their
 dispositive motions, after acquittal; in their alleged tax actions.
      BE ADVISED, a PMA cannot grant anyone a right or privilege that it does not possess, nor
 one which violates the constitutional protection of an American citizen. A dispositive / summary
judgment is a violation aka rebellion against the Constitution, and pursuant to the U.S.
 Constitution:
No person shall ... be deprived of life, liberty, or property, without due process of law ... -Due
Process Clause of the Fifth Amendment (1791 ), and pertaining to U.S. citizens, No State shall
make or enforce any law which shall abridge the privileges or immunities of citizens of the
United States .... -Privileges or Immunities Clause of the Fourteenth Amendment.
      PMAs operate under a state of necessity, now known as "necessity". It is codified by Article
25 of the International Law Commission's (ILC's) Articles on State Responsibility (ASR). It is a
circumstance precluding the wrongfulness of an otherwise internationally wrongful act. It is
traditionally defined as a situation in which the sole means by which a state can safeguard an
essential interest from a grave and imminent peril is to sacrifice another state's interest of lesser
importance. The plea is unavailable where the rule from which derogation is sought precludes
its invocation, where the state invoking necessity has contributed to peril's onset, or where the
act to safeguard the essential interest is contrary to a peremptory norm, such as the right to free
speech, which is still "pending" ratification in the PMAs Bill of Rights. Copy of PMA's Bill of
Rights and exhibits regarding "incorporation" attached.

 It is well understood that; "Anyone entering into an arrangement with the government takes the
 risk of having to accurately ascertain that he who purports to act for the government stays within
the bounds of his authority, even though the agent himself may be unaware of the limitations
 upon his authority." [Federal Crop Insurance v. Merrill, 332 U.S. 380 (1947)].
      When challenged, those posing as government officers' agents, agencies, etc. are required
to affirmatively prove whatever authority they claim. In the absence of proof, they may (must) be
held personally accountable for loss, injury and damages. See particularly, title 26 united states
code (herein "use") § 7804(b), now published in notes following § 7801. per 26 use § 7214(a), if
and when officer, agent, agency, irs personnel, etc. exceed authority prescribed by law, or fail to
carry out duties imposed by law, they are criminally liable pursuant to; 31 cfr part 1, appendix b
of subpart c, paragraph 2.
      The attempts by the Principals at the above annotated private associations, to conspire
against and evade the Public Law, via private UN authorized sister-city/ sister-state (treaty)
agreements, necessitates that I file a Public Interest suit in the [Military] District Court against all
involved actors collectively and severally, for objection to misapplication of law, deliberate


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 impersonation of Americans as foreign Persons.failure to honor redemption of fiat notes for
 lawful money, obstruction of trade, unlawful arrest and detainment, destruction and illegal
 confiscation of property, trespass against the Public Law, gross criminal negligence, conspiracy
against and evasion of the Public Law, inland piracy, human trafficking, racketeering,theft of
estate property, purposeful injurious harm, as well as fraud, unjust enrichment and gross breach
 of trust
      The law is; any incorporated entity that does anything unlawful against an unincorporated
(sovereign) entity is guilty of a crime and subject to immediate liquidation and in the event of a
death prosecution, because when -- ANY -- corporate entity attacks an unincorporated
(sovereign) entity, a crime occurs; and no one can profit from a crime. ALL municipalities and
their affiliates are incorporated entities. See Territorial Government's Executive Orders 13818 &
 13848.
      I, Paul-Joseph: Parker©, Illinoisan, do not consent to be conscripted into any foreign
jurisdiction or subjected to any foreign by-laws. I am entitled to directly request evidence of
officer's, agent's, agency's, irs employee's, etc. delegation of authority and/or liability insurance.
Civil Rule 36

    This information is mandatory under civil rule 36, and failure to answer, is deemed
admittance. In other words, it would indicate that discovery and records, that is, the bank's
records kept in the due course of business, are not admissions from special auditors AND do
not constitute admissions.


Admittance by Non-Response
     The debtor, i.e., THE STATE OF UTAH's and THIRD DISTRICT COURT IN AND FOR SALT
LAKE COUNTY's failure to provide the mandatory documentation, is an admittance by
non-response, also known as, an estoppel by acquiescence. An estoppel by acquiescence may
arise when one person gives a legal warning to another based on some clearly asserted facts or
legal principle, and the other does not respond within "a reasonable period of time". By
acquiescing, the other person is generally considered to have lost the legal right to assert the
contrary.
     Sean Reyes and Michael Palumbo, are operating in the capacity as a whistleblower, private
bounty hunter, pursuant to the extra-territorial congressional authority under BOUNTY HUNTER
RESPONSIBILITY ACT OF 1999 and BOUNTY HUNTER RESPONSIBILITY ACT OF 2005 and
or the 14th Amendment of the Federal Constitution of the United States which holds lawful
position as a 14th amendment "Constitutional Bounty Hunter" under Tille 42 Public Health and
Welfare 1983, 1988.

Whereas defined pursuant to American Jurisprudence:
    In general, it is essential to identify parties to court actions properly. If the alleged parties to
an action are not precisely identified, then who is involved with whom or what, and how? If not
properly identified, as is the case with the use of idem sonnans, all corresponding judgments
are void, as outlined in Volume 46.




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       Further, there is no accusation in civil court. A charge in civil law means bill, nothing else.
 One must be presented with a bill in a civil case for any charge that is made and in a criminal
 action a receipt is presented. Under English law the receipt is called a docket or indexed claim.
 It is presented at the onset of the collection process when one is summoned and expected to
 come forth and pay the bill or honor the receipt on behalf of the US citizen/debtor. All are
presumed to be competent enough to treat a bill as a bill and a receipt as a receipt and to honor
them fully or conditionally [as the case may be] with the bottom line being to balance or
reconcile the ledger.
      The U.S. / US and English litigation systems are either adversarial or inquisitorial. They only
have to present the evidence that supports their claim. For example, when a franchisee is
charged with speeding, he is given a charging instrument. It is the same as a claim by the bank
that shows that someone has failed to make mortgage payment(s). It is a commercial entry from
a corporation showing that there is an outstanding liability on their receivable balance sheet,
thus, placing them in the capacity of a creditor and defaulting the receiving party (franchisee) as
the debtor.
      While the bank is the alleged creditor on the receivable side of this undertaking; or their
asset side that is the receivable, I am the creditor on the liability side or the accounts payable.
Pursuant to "Federal Law, PL 73-10 and 12 USC 411", I am herein demanding my Mutual Offset
Credit Exchange Exemptions, to convert my accounts payable, as an offset or counterclaim, to
the financial asset side that is the receivable.

United States Disclaimer: For Want of Form

"And be it further enacted. That no summons, writ, declaration, return, process, judgment, or
other proceedings in civil cases in any of the courts or the United States, shall be abated,
arrested, quashed or reversed, for any defect or want of form, but the said courts respectively
shall proceed and give judgment according as the right of the cause and matter in law shall
appear unto them, without regarding any imperfections, defects or want of form in such writ,
declaration, or other pleading, returns process, judgment, or course of proceeding whatsoever,
except those only in cases of demurrer, which the party demurring shall specially sit down and
express together with his demurrer as the cause thereof. And the said courts respectively shall
and may, by virtue of this act, from time to time, amend all and every such imperfections,
defects and wants of form, other than those only which the party demurring shall express as
aforesaid, and may at any, time, permit either of the parties to amend any defect in the process
of pleadings upon such conditions as the said courts respectively shall in their discretion, and by
their rules prescribe (a)" . Judiciary Act of September 24, 1789, Section 342, FIRST
CONGRESS, Sess. 1, ch. 20, 1789.
The "Secret" of 1954
     In 1954 all the courts in America effectively shut down and stopped hearing Common Law
Pleas and instead started hearing only Statutory Pleas--- which means that the "Defendants"
and "Plaintiffs" in such courts can only be business entities or incorporated entities, via the
doctrine of incorporation, not natural people/persons.




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     The STATE OF NEW YORK, along with The STATE OF UTAH is currently being bankrupted
as a franchise of the UNITED STATES, INC., and the UNITED STATES DISTRICT OF
COLUMBIA MUNICIPAL CORPORATION due to their not paying their taxes (from its inception
no less), having claimed exemption as a government entity, only to have it discovered that they
were operating as private commercial corporations and therefore were never eligible for any
exemption. Yes, the tax man cometh for all of these Off-shore (non-domestic) entities operating
the Offshore Financial Centers "OFC's".

     The principal bankruptcy officials administering the insolvency/bankruptcy matter are the
Referees and Trustees, who are paid on a fee basis, not by salary. They have limited powers
and limited jurisdiction. Thus, any "legal" proceeding that is being administered by a referee and
or trustee is prima facie evidence that the matter is an involuntary (forced) bankruptcy
proceeding.

      This simulation of a legal process on the part of Sean Reyes and Michael Palumbo, also
 necessitates that the information annotated herein be immediately and widely disseminated, in
 the interest of public awareness and public safety. As an unregistered foreign agent, Sean
 Reyes and Michael Palumbo, can only make erroneous presentments; or rather "theory liens"
 without first going through the proper channels in order for his presentment to be considered a
 "firm offer" or "true bill in commerce." Also, as an "unregistered foreign agent, Sean Reyes and
 Michael Palumbo, must have someone to vouch for him, such as the Secretary of State, or
 State Archivist. No evidence was provided to verify that this was done. A certified copy of Sean
 Reyes and Michael Palumbo's foreign registration documents MUST be entered into the public
 records, along with a choate lien from a court of competent jurisdiction.
 A firm offer must be a signed affidavit, notarized and apostilled in order to be considered as a
 "true bill in commerce." Then and only then can ii be "accepted" or accepted for value and
 tendered for settlement.
      The bottom line is that the original assessment was not presented, nor a certified audit trail
 of all transactions for the original voucher expressly allowing for the back-end copy, imad, omad,
 disposition and all disbursement documents /receipts/ 1099oid/ 1099int, Bid Bond [GSA Form
 24], performance bond [SF25], payment bond [SF25A], SF274, SF275 & SF275A and at the
 Federal level SF273, SF27 4 & SF275, or equivalent documentations; as well as, the signed,
certified verification of assessment and name of the registered public accounting firm and name
of auditor who assessed the "Charges", credentials, oath, Name and contact information and
any "insurances" pertaining to this matter.
      Additionally; Sean Reyes, Doing business as Utah Office of Attorney General, failed to
provide the state 28-E agreements between the U.S. state and federal governments to secure
grants from the fed., and to insure compliance with federal law by the U.S. state and the yearly
compliance statement to the fed., showing among others that the U.S. stale is in compliance
with federal law and exactly where and how one is party to these agreements. See enclosed
United States Department of State "Touhy Notice".
      As the former receiver of process for PAUL JOSEPH PARKER/ Paul Joseph Parker et alia,
in order to provide settlement and closure; a statement of the accounting should have been
provided by Sean Reyes, Doing business as Utah Office of Attorney General. The parties


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 involved should be aware that without these documents being submitted for the record, I could
 not give permission for "sentencing of the charged party" and the deliberate use of idem
 sonanns for the names and addresses of the involved Principals further complicated settlement
 of this legal matter.

 DEMAND FOR ACCOUNTING

 Financial Accounting Standards Board of the Financial Accounting Foundation
 401 MERRITT 7, P.O. BOX 5116, NORWALK, CONNECTICUT 06856-5116 UNITED STATES

     The FASS is based in Norwalk, Connecticut, and is led by seven full-time Board members,
one being the chairman, appointed by the Financial Accounting Foundation (FAF) to serve
five-year terms and are eligible for one term reappointment. The FASS replaced the American
Institute of Certified Public Accountants' (AICPA) Accounting Principles Board (APB) on July 1,
1973.
    Pursuant to Statement of Financial Accounting Standards No. 140 -Accounting for
Transfers and Servicing of Financial Assets and Extinguishments of Liabilities. Effective
September 2000, a replacement of FASS Statement No. 125 was instituted.
    Whether ii is banking, civil or criminal court; it is all accounting. Reference the Financial
Accounting Standards Board ("FASS") regulations:
Financial Accounting Statement: FAS125 securitization accounting,
Financial Accounting Statement: FAS140 Offsetting of financial assets and liabilities,
Financial Accounting Statement: FAS133 derivatives on hedge accounts, FAS5, FAS95.

Title 12 USC 1813(L)(1)
     Under Title 12 USC 1813(L)(1) when I deposited the promissory note, it became a cash
item. It became the equivalent of cash because I have a cash receipt for it. In other words, I am
the creditor on the payables side of the ledger. The receipt is my Deed. This means, the bank
owes me the money.

 Securitization
      Securitization is the process of transferring all the liabilities off the balance sheet. The banks
 do this because we do not ask for them. The promissory note is no longer a negotiable
 instrument pursuant to UCC Article 3, it has been converted into a security instrument pursuant
 to UCC Article 8. Whenever anyone sign a mortgage note it originally comes under UCC Article
3, but after securitization, it comes under Article 8. Under United States law securitization is
illegal because it is fraudulent, and instruments such as loans, credit cards and receivables, are
all securitized. Securitization is only illegal for private corporations. Sadly, all the banking
institutions follow these standards.
Off Balance Sheet Bookkeeping
     This accounting practice is called off balance sheet bookkeeping. The banks are not
showing the liability side of the ledger or the accounts payable because it has been moved over
to someone else's balance sheet. The IRS does the same thing when we tender them a
negotiable instrument. They accept it and never return it. They then neglect to adjust the


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account. They do not acknowledge the transaction. The deposit is moved off the books. It does
not show on the books the collection agent is looking at. The court clerk similarly is
(deliberately) also only looking at the accounts receivable side of the ledger, which places them
in the role of the creditor.
Abandoned Property Law

NY Aban Prop L § 1502 (2017) Article 15 - (Abandoned Property) LAWS REPEALED [1500];
 CONSTITUTIONALITY [1501 ]; EFFECTIVE DATE [1502). This chapter shall take effect June
first, nineteen hundred forty-four. 06/01/1944.
 DERIVATIVE RIGHTS DOCTRINE
      The Uniform Unclaimed Property Act, i.e., 1995 UUPA at section 1(6), defines a "holder" as
"a person obligated to hold for the account of, or deliver or pay to, the owner property that is
subject to this [Act]." The Comment to the 1995 UUPA further clarifies that; "As held by the
Supreme Court in Delaware v. New York, the holder is the person indebted under the applicable
state law..... The holder thus is 'a person obligated,' i.e., a person who could be sued
successfully by the owner for refusing to make payment", and pursuant to Delaware Limited
Liability Act, the LLC; in this instance, SEAN REYES, RANDON DRAPER and MICHAEL
PALUMBO/ Sean Reyes, Randon Draper and Michael Palumbo, Doing business as: Utah
Office of the Attorney General, are the holders and thus debtors.
     Additionally, pursuant to Insurance Co. of N. Am. v. Knight, 291 N.E.2d 40, 44 (Ill. App.
1972), appeal dismissed, 414 U.S. 804 (1973)- noted that "the rights of the State are derivative
from the rights of the owner, and ... the State has no greater right than that of the payee owner";
Cole v. National Life Ins. Co. 549 So. 2d 1301, 1303-04 (Miss. 1989) - "The State Treasurer
agrees and the Companies concur that the Treasurer acquires his (her) rights by and through
the owners of the abandoned property. Their conclusions were/are based on the custodial
nature of the Uniform Act under which the courts have consistently held that the rights of the
State are indeed derivative from the rights of the owners of abandoned property .... ".
     Pursuant to UCC 3-306, there cannot be a holder in due course on a promissory note after it
has been deposited. The bank executes an off balance sheet entry. This means the bank took
my note after they sold it, and instead of showing it on their balance sheet, they moved it over to
some other entity's balance sheet. It is no longer on the original bank's books.
Derivative suit
     In the United States, corporate law is based on state law. Although the laws of each state
differ, the laws of the states such as Delaware, New York, California, and Nevada where
corporations often incorporate, institute a number of barriers to derivative suits. A shareholder
derivative suit is a lawsuit brought by a shareholder on behalf of a corporation against a third
party. Often, the third party is an insider of the corporation, such as an executive officer or
director. Generally, in these states and under the American Bar Association guidelines, the
procedure of a derivative suit was as follows:
     First, eligible shareholders must file a demand on the board. The board may either reject,
accept, or not act upon the demand. If after a period of time, days the demand has been
rejected or has not been acted upon, shareholders may file suit. If the board accepts the
demand, the corporation itself will file the suit. If rejected, or not acted upon, the shareholder
must meet additional pleading requirements. On the requirements being met by the shareholder,


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the board may appoint a "special litigation committee" which may move to dismiss. If the special
litigation committee makes a required showing, the case will be dismissed. If the committee fails
to make a showing, the shareholder suit may proceed. This model approach is followed to a
greater or lesser degree among various states.
     In New York, for example, derivative suits must be brought to secure a judgment "in the
corporation's favor." Delaware has different rules in regards to demand and bond requirements
too. Shareholder derivative suits are unique because under traditional corporate law,
management is responsible for bringing and defending the corporation against suit. Shareholder
derivative suits permit a shareholder to initiate a suit when management has failed to do so.
Because derivative suits vary the traditional roles of management and shareholders, many
jurisdictions have implemented various procedural requirements to derivative suits. Any
proceeds of a successful action are awarded to the corporation and not to the individual
shareholders that initiate the action.
     Under traditional corporate business law, shareholders are the owners of a corporation.
However, they are not empowered to control the day-to-day operations of the corporation.
Instead, shareholders appoint directors, and the directors in turn appoint officers or executives
to manage day-to-day operations.

 Dispositive motions are unconstitutional
      Dispositive motions are unconstitutional because they violate the Fifth Amendment Due
 Process and Double Jeopardy Clauses. In law, a dispositive motion is a motion seeking a trial
 court order entirely disposing of all or part of the claims in favor of the moving party without
 need for further trial court proceedings. "To dispose" of a claim means to decide the claim in
 favor of one or another party. As a lawsuit may comprise numerous claims made by and against
 numerous parties, not every dispositive motion seeks to dispose of the entire lawsuit. In the
 U.S., the most common type of dispositive motions seeking to dispose of the entire lawsuit are
 those for summary judgment. Which is unconstitutional since it is a denial of due process. Many
 U.S. state jurisdictions also provide for a "partial summary judgment" or motion for "summary
 adjudication of issues" which only seeks to dispose of part of a lawsuit.
 TRIABLE ISSUES OF FACT
 In many cases, a decision on a dispositive motion is a prerequisite for appellate review. See,
 e.g., Wash. Rules of Appellate Procedure 2.2.
     Regardless whether the dispositive motion is for summary judgment or adjudication, the
motion must be supported by declarations under oath, excerpts from depositions which are also
under oath, admissions of fact by the opposing party and other discovery such as
interrogatories, as well as a legal argument (points and authorities). The other party may
respond with counter-declarations, discovery responses, and legal arguments attempting to
show that these issues were "triable issues of fact." If there is any question as to whether there
is conflict on the facts on an issue, the summary judgment or adjudication must be denied
regarding that matter.
     The two principal types of dispositive motion in contemporary American legal practice are
the motion to dismiss (sometimes referred to as a demurrer in a minority of U.S. state
jurisdictions) and the motion for summary judgment or summary adjudication of issues. A



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   dispositive motion may also be used to request that an indictment be dismissed or quashed, or
  for judgment on pleadings.
       In order to solve conflict of law issues, the United States enacted Section 304 of the U.S.
  Bankruptcy Code in 1978. Section 304 was repealed in 2005 and replaced with Chapter 15,
  tilled "Ancillary and Other Cross Border Cases." This section has increased the range of options
  available in the United States in support of foreign bankruptcy proceedings.
       Chapter 15, Tille 11, United States Code: Ancillary and Other Cross-Border Cases, is a
  section of the United States bankruptcy code that deals with jurisdiction (legal authority). Under
  Chapter 15 a representative of a corporate bankruptcy proceeding outside the U.S. can obtain
  access to the United States courts. II allows cooperation between the United States courts and
  the foreign courts, as well as other authorities of foreign countries involved in cross-border
  insolvency cases.
  Pursuant 11 U.S. Code Chapter 15:
  § 1502(1) "debtor" means an entity that is the subject of a foreign proceeding.
  11 U.S. Code § 1502(2) "establishment" means any place of operations where the debtor carries
  out a nontransitory economic activity.
  11 U.S. Code§ 1502(3) "court" means a judicial or other authority competent to control or
  supervise a foreign foreign proceeding.
  11 U.S. Code § 1502(6) "trustee" includes a trustee, a debtor in possession in a case under any
 chapter of this title, or a debtor under chapter 9 of this title.
  11 U.S. Code§ 1502(7) "recognition" means the entry of an order granting recognition of a
 foreign main proceeding or foreign nonmain proceeding under this chapter.
 11 U.S. Code§ 1502(8) "within the territorial jurisdiction of the United States", when used with
 reference to property of a debtor, refers to tangible property located within the territory of the
 United States and intangible property deemed under applicable nonbankruptcy law to be
 located within that territory, including any property subject to attachment or garnishment that
 may properly be seized or garnished by an action in a Federal or State court in the United
 States.
 Chapter 15 incorporates the Model Law on Cross Border Insolvency drafted by the United
Nations Commission on International Trade Law. The law provides solutions to problems which
arise in connection with cross-border bankruptcy, allowing US (territorial) courts to issue
subpoenas, orders to turn over assets, the issuance of stays on pending actions, and orders of
other types as circumstances dictate.
       The ancillary proceeding permitted under Chapter 15 is often a more efficient and less
costly alternative to initiating an independent bankruptcy proceeding in the United States. It also
avoids the conflicts (of laws) which could arise between the jurisdictions involved in two
independent bankruptcy proceedings initiated in connection with the same debtor. Chapter 15
also establishes mechanisms for the cooperation between US and foreign courts and
representatives regarding proceedings which involve the same debtor.
Recoupment /Counterclaim/ Setoff is herein being demanded pursuant to;
Rule 13 • Mandatory Counterclaim
      As the creator of the promissory note, I demand recoupment. I signed it and others are
using it, therefore, recoupment means I want my property back and have the account set off.
Under civil rule 13, a counterclaim, which is based on the same transaction, is mandatory.


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 Pursuant to Statement 95: These reports are filed on 0MB forms in which the public has a right
 to disclosure under the privacy act. If the bank shifts the assets off the books, they have to
 report to the FRB where it went.
      Recoupment - (1) The recovery or regaining of expenses by applying the setoff so you can
 get back what you gave and what you are entitled to. (2) The withholding for the equitable part
 or all of something that is due. This proposed legal action is an equitable action, using admiralty
 style financial instruments. By signing the promissory note, I monetized the corporate
 government's system with my signature. It created an IOU. However, an IOU is an asset
 instrument, it is NOT a liability instrument.
      Under the constitution, the government was not given authority to create money. It is a
 power reserved by the people. Article I, section 10 restricted the U.S. states from making gold
 coins. So the corporate government has to rely on deceiving the people to create money. In
 other words, the corporate government creates money by tricking the people into signing IOUs,
 or promissory notes.
     Again, the promissory note is not a debt instrument to the one who created it; it is actually
an asset. The creator can pass it on for someone else to use. It is negotiable unless it includes
terms and conditions as part of a contract. The collateral property belongs to the creator
(owner), and the holder is merely using it and any proceeds that come from it should be
restored to the creator.
     The bank, that is, the court; is using the receivable side of the accounting ledger. It is what
The State of Utah is attempting to "charge" me with. On the receivable side, The State of Utah
must pay the debt, because that is where the charge is coming from since The State of Utah is
claiming to be the creditor like a bank collecting the mortgage. The mortgage side of the bank
ledger is the bank's asset and receivable, but it is also on the bank's liability side.

 FAS 140 / Setoff
     Under FAS 140, I am claiming my setoff. A deposit is a cash receipt, i.e., a cash proceed.
 Everything becomes a cash proceed in commercial law under (UCC) Article 9. The accounting
 records show it as a cash proceed. I was given a credit to my account, which is actually a cash
 receipt to me the customer or the borrower. Subsequently, a cash payment was then made to
the bank.
The Clerk of the Court
     The above scenario is also what is occurring in the courtroom. The clerk holds the
receivable side for the corporation and the judge holds the payables. The judge is holding
accounts payable under HJR 192 for all the people that come before him if he has possession
of the Social Security Number. The judge is not required to be a witness or bring pleadings to
the court. He/She is functioning merely as a referee, an arbitrator. The receivables are the
charges against the franchise. The party holding the payables is not the same party handling
the receivables. The judge is not obligated to do the setoff unless it is raised as an issue or
defense, which it has in this case.
A Civil Cause of Action
    There is no accusation in civil court. A charge in civil law means bill, nothing else. One must
be presented with a bill in a civil case for any charge that is made and in a criminal action a
receipt is presented. Under English law the receipt is called a docket or indexed claim. It is


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 presented at the onset of the collection process when one is summoned and expected to come
 forth and pay the bill or honor the receipt on behalf of the US citizen/debtor. All are presumed to
 be competent enough to treat a bill as a bill and a receipt as a receipt and to honor them fully or
 conditionally [as the case may be] with the bottom line being to balance or reconcile the ledger.
 Two sets of books = Double Book Entry

The Eleventh Amendment
   The Eleventh Amendment is a constitutional limit on federal subject matter jurisdiction, and
Congress can override it by statute only pursuant to the § 5 enforcement power of the
Fourteenth Amendment (Bills of Attainder). Bills of Attainder are foreign bills and are prohibited
by Article IV of the Federal Constitutions, which clearly state that Americans are specifically
exempted from being prosecuted under bills of attainder, and Amendment XI of all three Federal
Constitutions state that Americans are not subject to any form of foreign law.

      Virtually any presentment submitted to any of these foreign forums (courts) is a Bill of
 Attainder which should never, ever, be addressed to any American civilian, under any
 circumstance. This includes Summons, Warrants --- Non-Judicial Warrants, Traffic Citations,
 Impound Orders, Court Orders, Dockets, etc. ---- they are all "Bills of Attainder" and they are all
 pre-judged via Summary Judgments pursuant to Warrants of Attorney to Confess Judgments
 regardless of what "court" (tribunal) issues them.
      Factually, there have been no actual Judicial Courts operating in America since the
 enactment of the First Judiciary Act of 1789, which removed the Judiciary branch of the United
 States Government, and there has been no actual trial activity as a result. The entire "justice
 system" has been run under a system of (administrative) constructive fraud.
 There are three main exceptions to the sovereign immunity of a state:
     First, The Eleventh Amendment does not stop a federal court from issuing an injunction
 against a state official who is violating federal law. Although the state official may be abiding by
 state law, he is not permitted to violate federal law, and a federal court can order him to stop the
 action with an injunction. [Ex Parle Young, 209 U.S. 123 (1908)]. Money damages are possible
 against the state officer, as long as the damages are attributable to the officer himself and are
not paid from the state treasury. [Scheuer v. Rhodes, 416 U.S. 232 (1974)].
     The Eleventh Amendment does not automatically protect political subdivisions of the state
from liability. [Moor v. County of Alameda, 411 U.S. 693 (1973)]. The main factor is whether the
damages would come out of the state treasury. [Hess v. Port Authority Trans-Hudson Corp., 115
S. Ct. 394 (1994)].
In United States, if the U.S. state would have to pay for damages from the U.S. state treasury,
then the Eleventh Amendment will serve as a shield from liability. Eleventh Amendment
immunity does not protect municipal corporations or other governmental entities that are not
political subdivisions of the state, such as cities, counties, or school boards.

     Finally, the states surrendered a portion of the sovereign immunity that had been preserved
for them by the Constitution when the Fourteenth Amendment (Bill of Attainder) was adopted.
Congress uses Bills of Attainder to authorize private qui tam / whistleblower I relator suits




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against non-consenting states to enforce their constitutional Fourteenth Amendment
guarantees.
The so-called 14th Amendment is a Bill of Attainder issued by the Board of Directors of "The
United States of America" ---Incorporated, the Scottish Interloper, operating the Territorial
Congress as a Legislature.

A bill of attainder is:
a legislative act formerly permitted that attainted a person and imposed a sentence of death
without benefit of a judicial trial see also attainder compare bill of pains and penalties in this
entry; a legislative act that imposes any punishment on a named or implied individual or group
without a trial.

     In the 14th Amendment, bills of attainder condemned all Municipal citizens of the United
States and pre-judged and sentenced them. Thus, when a representative via its STRAWMAN is
SUMMONED and appears in any Territorial State of State Court or District Court, the entire
process is a sham. II is a simulation of a legal process. It "gives an appearance of justice" but
the PERSON in the Dock and named on the Docket, is already pre-judged and guilty, and has
appeared in answer to a Bill of Attainder.
      It's also why when the estate of a living man "presumed to be" an "infant decedent", for
example, "Johnson, Lester Allen"---- appears in one of these courts, it is presumed to be
abandoned and subject to administration by Territorial Bar Attorneys as "salvage" under
Maritime law, and already pre-judged and subject to the "discretion" of the Judge --- and again,
has appeared in answer to a Bill of Attainder.
     The word "decedent" can mean what we typically take ii to mean --- literally dead, a corpse,
etc., or, it can mean that we have waived our right to an estate or inheritance. Now you know
what they are pretending when they use the Upper and Lower Case Name and haul you in
using Bills of Attainder.
     They are using our Mother's unwitting "Witness" as the basis to claim that she donated us
(living American) to them as a Ward of their State of State organization and that we are
"presumed to be" a British Territorial U.S. Citizen, a Subject of the Queen, and liable to vest all
your property interests in the Queen and pay all her debts, and our birthright estates are
probated / administered under the Americans with Disabilities Act (ADA). In other words, in the
British system, you are liable to Bills of Attainder regarding any debt owed to or owed by the
Queen. It Is all foreign rules and regulations, deemed laws.
     The immunity of a state from suit has long been held not to extend to actions against state
officials for damages arising out of willful and negligent disregard of state laws. See Johnson v.
Lankford, 245 U.S. 541 (1918) and Martin v. Lankford, 245 U.S. 547 (1918).
     The reach of the rule is evident in Scheuerv. Rhodes (416 U.S. 233 (1974)), in which the
Court held that plaintiffs were not barred by the Eleventh Amendment or other immunity
doctrines from suing the governor and other officials of a state alleging that they deprived
plaintiffs of federal rights under color of state law and seeking damages, when it was clear that
plaintiffs were seeking to impose individual and personal liability on the officials.
     The Eleventh Amendment is a constitutional limit on U.S. federal subject matter jurisdiction,
and the U.S. Congress can override ii by statute only pursuant to the § 5 enforcement power of


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 the Fourteenth Amendment. Municipal citizens of the United States (otherwise known as 14th
 Amendment citizens) never had any constitutional guarantees to begin with, and neither do U.S.
 Territorial Citizens --- like people born in Puerto Rico, or American Military personnel serving
 "overseas", and since these two commercial corporations broadly called, the US CORP (defunct
 1/19/2021) and the USA, CORP (also defunct 1/7/2021) have been engaged in a perpetual
 mercenary "war" on our shores since 1860, it should come as no surprise that they have
 condemned the "other side" by legislative acts and uses "bills of attainder'' to prosecute their
 "enemies 11 •
 There are three main exceptions to the sovereign immunity of a state:
 First, The Eleventh Amendment does not stop a federal court from issuing an injunction against
 a state official who is violating federal law, as is the case with a PMA member who is violating
the constitutional rights of another.
 Second, The Eleventh Amendment immunity does not protect municipal corporations or other
governmental entities that are not political subdivisions of the state, such as cities, counties, or
school boards.
Third, the states surrendered a portion of the sovereign immunity that had been preserved for
them by the Constitution when the Fourteenth Amendment was adopted, and while Congress
may authorize private suits against non-consenting states to enforce the constitutional
guarantees of the Fourteenth Amendment, these qui tam or whistleblower suits cannot be used
to abrogate the Constitutional guarantees of American citizens.
     As traditionally understood, the essential interests safeguarded in necessity are state
interests, but the ILC included as progressive development in Article 25 ASR the possibility for a
state-or several states acting together unilaterally, for example, via sister-city/ sister-state
private agreements, to safeguard in necessity an essential interest of the international
community as a whole. The ILC's Draft Articles on the Responsibility of International
Organizations (DARIO), now also provides as progressive development for the possibility of an
international organization, acting in necessity, to safeguard an essential interest of the
International community as whole, subject to the organization having the role of protecting the
interest in question as well as the other conditions traditionally associated with state of
necessity, as set out above, being met. Indeed, initially the ILC considered that an international
organization cannot invoke necessity to safeguard its own essential interest.

    The actual Public Law is not subject to discretionary enforcement by any employee, trustee,
or representative. The Public Law is a mandatory enforcement obligation of all trustees,
employees, administrators, officers, and officials pretending any authority or association with the
actual Government of this country and is an obligation of all Principals under both The
Constitution of the United States and The Constitution of the United States of America.

    As all should be aware, whenever, one obtains any type of license, for example, Medical,
Attorney/Lawyer or Real Estate, etc.; it changes ones political status and involves being
conscripted as a U.S. Citizen and subjected to the Queen's Government as a Uniformed Officer
as defined under Title 37 of the Federal Code. Of particular interest is the fact that all tax
collectors (IRS agents), such as, police officers, sheriffs departments, DOT, tag agencies, BAR
attorneys, Judges, Highway Patrol, "appearing as elected officials," are just "private


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contractors," who can now be brought up on fraud charges for "impersonating a public official
while receiving federal funding."

In re jurisdiction is granted within [!]he United States pursuant to Section 802 of the USA Patriot
Act.

Section 802, Patriot Act: Defining the People as terrorists. Defining terrorism as a maritime
event. Excluding private meetings on the land from terrorism: "(5) the term 'domestic
terrorism' means activities that--(A) involve acts dangerous to human life that are a violation of
the criminal laws of the United States or of any State; (B) appear to be intended-- (i) to
intimidate or coerce a civilian population: (ii) to influence the policy of a government by
intimidation or coercion: or (iii) to affect the conduct of a government by mass destruction,
assassination, or kidnapping; and (C) occur primarily within the territorial jurisdiction of the
United States."

     lus in re, or jus in re, under civil law, more commonly referred to as a real right or right in
rem, is a right In property, known as an interest under common law (British Equity). A real right
vests in a person with respect to property, inherent in his relation to it, and is good against the
world (erga omnes). The primary real right is ownership, called dominium, freehold, leasehold,
commonhold. Whether possession (possessio) is recognized as a real right, or merely as a
source of certain powers and actions, depends on the legal system at hand. Subordinate or
limited real rights generally refer to encumbrances, rights of use and security interests.

    The term right in rem is derived from the action given to its holder, an actio in rem. In Latin
grammar the action against the thing demands a fourth case. The underlying right itself, lus in
re, has a fifth case, as the right rests on, or burdens, "the thing".

   The common law (British Equity) terminology now erroneously uses the fourth case for
describing the right itself.

In rem jurisdiction is a legal term describing the power a court may exercise over property
(either real or personal) or a "status" against a person over whom the court does not have in
personam jurisdiction. For instance, in any matter concerning real estates, landlords may seek
and courts may grant forfeiture (deprivation or destruction of a right in consequence of the
non-performance of some obligation or condition) of leases such as in leasehold estates
(ownership of a temporary right to hold land or property in which a lessee or a tenant holds
rights of real property by some form of title from a lessor or landlord and although a tenant does
hold rights to real property, a leasehold estate is typically considered personal property i.e.
movable property or movables (any property that can be moved from one location to another;
for example from land jurisdiction to maritime/sea jurisdiction) for breach of covenant, which in
most jurisdictions must be relatively severe breaches; however, the covenant to pay rent (via
UCC § 9-102- (C)(5) - "agricultural liens"; as a "farm tax") is one of the more fundamental
United States covenants.



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     Jurisdiction in rem assumes the property or status is the primary object of the action, rather
 than personal liabilities not necessarily associated with the property.

    A servitude cannot impose the performance of a positive duty on the owner of the burdened
property but only duties either to refrain from exercising certain rights to which an owner could
be otherwise entitled (negative servitude) or to suffer certain things to be done to his/her
property which an owner otherwise could be entitled to forbid or resist (positive servitude).

   Servitudes arise from express agreement (mortgage/security agreement), adverse
possession, (a legal principle under which a person who does not have legal title to a piece of
property - usually land (real property) - acquires legal ownership based on continuous
possession or occupation of the property without the permission of its legal owner; or as a
matter of law.

    The U.S. Copyright Office stated that "[t]he tangible nature of a copy is a defining element of
the first sale doctrine and critical to its rationale." For the first sale doctrine to apply, lawful
ownership of the copy or phonorecord is required and §109(d) of the Act prescribes, first sale
doctrine does not apply if the possession of the copy is "by rental, lease, loan, or otherwise
without acquiring ownership of it".

     Courts have struggled and taken dramatically different approaches to sort out when only a
 license was granted to the end user as compared to ownership. In general, courts look beneath
the surface of the agreements to conclude whether the agreements create a licensing
relationship or if they amount to, in substance, sales subject to first sale doctrine under §109(a).
     Thus, specifying that the agreement grants only a "license" is necessary to create the
licensing relationship, but not sufficient. Other terms of the agreement should be consistent with
such a licensing relationship.
Section 602(a)(1) of the US copyright statute states that "importation into the United States,
without the authority of the owner of copyright under this title, of copies or phonorecords of a
work that have been acquired outside the United States is an infringement of the exclusive right
to distribute copies or phonorecords." This provision provides the copyright owner an
opportunity to stop goods from entering the United States market altogether. Whether ii is
banking, civil or criminal court; ii is all about accounting.

Notice of Intent to Subpoena the Special Audilor(s)
   The corporate government is mandated to give a cash receipt on any deposit, because it is a
demand deposit account. II is required to be displayed on their books --- but they are not doing
that. It is being handled as an offset entry. If this goes to trial we will subpoena the auditor.
Receipts are important and these "special auditors" must keep track of where the assets are
located. The clerk of the U.S. District court as holder of the receivable side for the corporation
and the assigned judge/ referee, as holder of the payable side of the corporation is herein being
requested to set-off the account before him/ her that is associated with social security/ tax
identification number(s) XXX-XX-XXXX.




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DEMAND FOR RELIEF NO ONE CAN PROFIT FROM A CRIME.

       WHEREFORE, appllcanUdeclarant demands:
 The remedy provided pursuant to Federal Law, PL 73-10 (12 USC 411): Mutual Offset Credit
 Exchange Exemption, be honored, along with recognition of my Exemption from all " state and
 federal taxes", as well as, all state and federal citizenship obligations, including all mortgages,
 and all Territorial and Municipal Codes and Statutes.
      A jury demand for a "Political Status Hearing", in order to put an end to the legal
 harassment via undisclosed and involuntary bankruptcy arbitration hearings disguised as
judicial hearings that are being practiced by United States Legal Service Representatives via
their special legislative acts a/k/a "soft-laws", all of which violates The United States Constitution
 and The Constitution of the United States of America.
      To issue a permanent injunction to STOP all summary process proceedings in Utah State,
THIRD DISTRICT COURT IN AND FOR SALT LAKE COUNTY, STATE OF UTAH for case
number 191906168. It violates both the United States Constitution and Utah State laws.
      To conduct an evidentiary hearing in the nature of a forensic audit, to determine the degree
of damages caused by the malicious negligence of the defendants/respondents against, and
return of, my private and real property, along with any securities created from this case both
known and unknown. Explicitly reserving all rights without prejudice.
      I, Paul-Joseph: Parker©, am an Illinoisan; an American without Disability, who is not subject
to "the Americans With Disability Act ("ADA"). Explicitly reserving all rights without prejudice.

Lex semper dabit remedium: "The law always gives a remedy"

This   IO      day of April, Two Thousand Twenty Two




In care of 1978 Chalet Drive Santa Clara Utah

Street Address

Phone:#: 801-647-9319                 No --- I do not consent to receive documents electronically.

             .........••••Nothing below this line, No changes permitted• 0   ••
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